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                            Exhibit 2
                         SAMs Documents*

                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)




  *Page numbers have been added for ease of reference.
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                                                U.S. Department of Justice
                                                Federal Bureau of Prisons

                                                Federal Correctional Complex
                                                0 Administrative Maximum Security Institution
                                                □ High Security Institution
                                                □ Medium Security Institution
                                                □ Minimum Security Institution




                                                 January 6, 2022


  NOTICE TO: KAMEL MOSTAFA, REG. NO. 67495-054

                 'rAn;
  FROM:         ~       er, Warden

  SUBJECT:      Notification of Extension of Special Administrative Measures (SAM)


                                          SUMMARY

          The United States Attorney for the Southern District of New York (USA/SONY) and
  the Federal Bureau of Investigation (FBI) request that the SAM be renewed. You were
  convicted of various terrorism-related crimes, including the Islamic Army of Aden's
  hostage-taking of 16 tourists in Yemen, two of whom were American citizens, which
  ended with the deaths of four hostages. Based upon the information provided by the
  USA/SONY and the FBI, pursuant to 28 C.F.R. § 501 .3, there continues to be a
  substantial risk that your communications or contacts with persons could result in death
  or serious bodily injury to persons, or substantial damage to property that would entail the
  risk of serious bodily injury to persons. Therefore, we will continue to implement the SAM
  to restrict your access to the mail, the telephone, visitors, other inmates, and the media.
  The SAM will commence immediately upon expiration of the prior SAM authorization
  period and will be in effect for a period of one year, subject to further direction.

                                  PROCEDURAL HISTORY

         On May 19, 2014, a jury in the Southern District of New York convicted you of
  conspiring to take hostages and taking hostages; conspiring , providing , and attempting to
  provide material support to terrorists; conspiring , providing and attempting to provide
  material support to al Qaeda, a designated foreign terrorist organization; and conspiring
  to provide goods and services to the Taliban. On January 9, 2015, the court sentenced
  you to imprisonment of Life. The United States Court of Appeals for the Second Circuit
  affirmed all but two of the convictions and left the Life sentence undisturbed. United
  States v. Mustafa, 752 Fed . Appx. 22 (2d Cir. 2019). Because of your proclivity for
  violence, the Attorney General placed you under SAM. Previously housed at the
  Metropolitan Correctional Center (MCC) in New York, you were transferred to the United



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  States Penitentiary, Administrative Maximum, Florence, Colorado (ADX) , on October 8,
  2015.

                                 FACTUAL BACKGROUND

         A.   Mostafa's Criminal Conduct

         You, an Egyptian-born citizen of the United Kingdom , were held in custody in the
  United Kingdom for several years while you contested extradition to the United States.
  According to the USA/SONY, you supported acts of terrorism for many years. While you
  were Imam of the Finsbury Park Mosque in London , you used your ~osition to radicalize
                                                                     1
  your impressionable young followers and encourage them to join th e ji~ad. You r
  followers included convicted "shoe bomber" Richard Reid (under SAM from 2002 to
  2008) and convicted 9/11 co-conspirator Zacarias Moussaoui (currently under SAM).

         You were convicted of four courses of criminal conduct, each of which
  demonstrated your ability and willingness to incite others to commit violence, terrorism,
  and murder. First, in December 1998, while operating in London, you participated in a
  plot whereby the Islamic Army of Aden took 16 tourists, including two American citizens,
  as hostages in Yemen. The hostage-taking was undertaken to induce the Yemeni
  government to release various individuals who had recently been arrested, including your
  stepson and other followers. To support the hostage-taking, you supplied the hostage-
  takers with a satellite telephone, provided advice to the terrorists on how to conduct the
  hostage-taking , arranged for additional airtime to be added to the satellite telephone
  while the hostage-taking was underway, and maintained contact with the terrorists
  throughout the event. During a rescue attempt, four of the hostages were killed, and
  several others were wounded.

          Second, in 1999, you sent two of your followers, Oussama Kassir and Haroon
  Aswat, to the United States to establish a terrorist training camp at a ranch in rural
  Oregon. You believed that weapons could be secretly stockpiled at the camp and that
  numerous followers could gather there for hands-on terrorist training. Your ultimate goal
  was for Kassir to train young men to wage jihad in Afghanistan and elsewhere, in support
  of al Qaeda . Under your direction, Kassir provided weapons training to young men. In
  addition, Kassir procured numerous firearms; extolled the virtues of suicide bombing; and
  distributed information on how to manufacture various types of bombs and a range of
  lethal poisons. When instructing his trainees, Kassir made it clear that he was training
  them to become martyrs. On May 12, 2009, Kassir was convicted of 11 terrorism-related
  charges, including two counts of providing material support to al Qaeda and two counts of
  conspiracy to kill. Because of Kassir's proclivity for violence, the Attorney General placed
  him under SAM, effective October 29, 2007, and most recently renewed in October 2018.
  Kassir's SAM subsequently expired without renewal in October 2019.




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         Third , in late 2000, you directed one of your followers, James Ujaama, to escort
  Feroz Abbasi, another of your followers, from London to Afghanistan, to meet with lbn
  Sheikh al-Libi. AI-Libi, a leader of a terrorist training camp in Afghanistan, was described
  by you as a "front line commander." Abbasi was observed in Afghanistan in early 2001
  with al-Libi and received training at an al Qaeda training camp while in Afghanistan .
  Abbasi was captured on the battlefield in Afghanistan in December 2001 . AI-Libi was
  also captured while fleeing Afghanistan in late 2001 and died in a Libyan prison in 2009.

          Fourth, from in or around 2000 to 2001, you , working with Ujaama, conspired to
  provide goods and services to the Taliban, including by sending money and other items
  to Taliban-controlled regions of Afghanistan. You gave Ujaama money to be delivered to
  Abu Khabab, an al Qaeda explosives expert who ran an explosives training camp in
  Afghanistan. Ujaama, who also conspired with Kassir at the above-described training
  camp in Oregon, pied guilty to multiple terrorism offenses and was subject to SAM from
  October 3, 2002, through April 15, 2003.

         8.   Basis for Special Administrative Measures

           In addition to your involvement in the criminal conduct described above, you are
  an avowed proponent of terrorist attacks against non-Muslims, have repeatedly made
  public comments supporting terrorist attacks, and have demonstrated your willingness to
  utilize technology to further your aims and expand your influence. Specifically, while
  Imam of the Finsbury Park Mosque in London , you utilized a website for your pro-jihad
  organization, the Supporters of Sharia, to communicate with supporters. As detailed
  above, you have long held ties to senior-level terrorist leaders. In addition, the
  USA/SONY reports that since the SAM were imposed on January 3, 2013, and continuing
  through 2015, you have committed multiple violations of the restrictions. For example, on
  June 15, 2013, while housed at the MCC, you violated the SAM by talking to another
  SAM inmate. As a result, the MCC issued an incident report and suspended your
  telephone privileges for 30 days. On another occasion during the first year of the SAM
  restrictions, a telephone call with your family was terminated after your family put the
  telephone call on speaker phone, despite notification at the onset of the call that speaker
  phone use was not permitted during the call. You again violated the SAM in August
  2014, when you communicated with another SAM inmate in Arabic. As a result, you
  received another incident report from the MCC for refusing to obey an order. This
  violation also resulted in suspension of your telephone privileges for a period of thirty
  days.

         In 2018, you again sought to circumvent the SAM. On or about August 13, 2018,
  you attempted to send mail containing an unapproved third party communication. You
  wrote, "[D]on't tell him [the third party] that I love and miss him ... because it's against
  the rules." Interpreting this letter as an exhortation to the recipient to forward the quoted
  language to the third party, in violation of the SAM, the ADX returned the letter to you .


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        A July 25, 2019, modification of the SAM prohibited contact with your son, Sufyan
  Mostafa, after you commented in a monitored telephone call with your wife that Sufyan
  Mostafa was involved in fighting with Syria, which the FBI was able to confirm through
  open source reporting.

         In 2021, the FBI approved the following additional contacts you requested and
  those contacts are accordingly incorporated in the SAM. Your request to add one son,
  lmran Mostafa Kamel Mostafa, was approved for non-legal mail, telephone, and visitation
  contact, and this is set forth in the SAM by deletion of this son, an immediate family
  member, as a prohibited contact. Your request to add your grandson, Mosab Asim, was
  approved for non-legal mail and visitation with his mother Mariam Mostafa, who is an
  approved contact. Your request to add your grandson, Ahmed Othman Mostafa, was
  approved for non-legal mail and visitation with his father Othman Mostafa, who is an
  approved contact.

         You request to add three grandsons, Yahya Mohamed Mostafa, Yassin Mostafa,
  and Omar Sufyan Mostafa, was approved for visitation only with an approved contact.
  Yahya Mohamed Mostafa and Yassin Mostafa reside with their father, Mohammed
  Mostafa Kamel, who is a non-approved contact due to derogatory information. Omar
  Sufyan Mostafa resided with his father Sufyan Mostafa, who is a non-approved contact
  due to derogatory information. Your contact requests to add your stepson Mohsin Gailan,
  your son Mohammed Mostafa Kamel, and your son Sufyan Mostafa Kamel are not
  authorized in this SAM. There is a wealth of information providing a continuing basis to
  deny you access to these three relatives.

         Critically, Mohammed Mostafa Kamel was part of the criminal enterprise in Yemen
  (the case prosecuted against you), and he now is imprisoned in a Turkish prison for drug
  dealing. Allowing you to send letters to that Turkish prison was denied, especially
  because of the possibility Mohammed Mostafa Kamel might disseminate such letters to
  the other Turkish inmates, including like-minded jihadists.

         You conspired with Mohsin Ghailan, your stepson, to carry out a kidnapping plot in
  Yemen. You aided and abetted that group in kidnapping 16 non-Muslim tourists in
  Yemen, including two Americans, to attempt to compel the Yemeni government to
  release your followers from custody. Four hostages died in the kidnapping. Your son,
  Mohammed Mostafa Kamel, was also in Yemen at the time of the kidnapping, wanted by
  the authorities and seeking to avoid capture.

        Sufyan Mostafa has been stripped of his British passport and has called for the
  death of Bashar al Assad. Further, he has an extremely active presence on social media,
  on which he shares jihadist propaganda. Sufyan Mustafa is a well known jihadi fighter
  and remains free to use social media to spread his hate against the west.


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        Given your convictions for terrorism-related offenses, as well as the substantial
  number of your followers who have been convicted of terrorism offenses, including
  Richard Reid, Oussama Kassir, James Ujaama, Haroon Aswat, and Zacarias Moussaoui,
  communications made or received by you could pose an operational threat, even though
  you are incarcerated.

                                        CONCLUSION

          Based upon information provided of your proclivity for violence, particularly your
  ties to terrorist leaders; your leadership of thousands of followers; your past advocacy for
  violence; your willingness and ability to motivate your followers to engage in acts of
  violence, terror, and murder; your continued following by extremists; and your
  demonstrated sophistication in communicating internationally, there is substantial risk
  that your communications or contacts with persons could result in death or serious bodily
  injury to persons, or substantial damage to property that would entail the risk of serious
  bodily injury to persons. Accordingly, we will continue to implement SAM to restrict your
  access to the mail, the media, the telephone, and visitors.

  1)   General Provisions

       a)   Adherence to Usual United States Marshals Service (USMS), BOP, and
            Detention Facility (DF) Policy Requirements - In addition to the below-listed
            SAM, you must comply with all usual USMS, BOP, and non-BOP DF policies
            regarding restrictions, activities, privileges, communications, etc. If there is a
            conflict between USMS/BOP/DF policies and the SAM, as set forth herein,
            where the SAM are more restrictive than usual USMS/BOP/DF policies, then
            the SAM shall control. If usual USMS/BOP/DF policies are more restrictive
            than the SAM, then USMS/BOP/DF policies shall control.

       b)   Interim SAM Modification Authority - During the term of this directive, the
            Director, Office of Enforcement Operations (OEO), Criminal Division, may
            modify your SAM as long as any SAM modification authorized by the OEO:

            i)     Does not create a more restrictive SAM;

            ii)    Is not in conflict with the request of the USA/SONY, FBI, USMS/BOP/DF,
                   or applicable regulations; and

            iii)   Is not objected to by the USA/SDNY, FBI, or USMS/BOP/DF.

       c)   Inmate Communication Prohibitions -




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            i)      You are limited, within the USMS/BOP/DF's reasonable efforts and
                    existing confinement conditions, from having contact (including passing or
                    receiving any oral, written, or recorded communications) with any other
                    inmate, visitor, attorney, or anyone else, except as outlined and allowed
                    by this document, that could reasonably foreseeably result in you
                    communicating (sending or receiving) information that could circumvent
                    the SAM's intent of significantly limiting your ability to communicate (send
                    or receive) threatening or other terrorism-related information.

             ii)    The USMS/BOP/DF may permit you to communicate with other SAM
                    inmates orally only during certain predesignated times, the place and
                    duration to be set by the USMS/BOP/DF. You shall not have any physical
                    contact with other inmates during this predesignated time and all such
                    predesignated sessions may be monitored and/or recorded. Upon
                    request of the FBI, a copy of the recordings will be provided by the
                    USMS/BOP/DF to the FBI to be analyzed for indications that you are
                    attempting to pass messages soliciting or encouraging acts of terrorism,
                    violence, or other crimes.

       d)   Use of Interpreters/Translators by the USMS/BOP/DF - Interpreter/
            translator approval requirement:

             i)     The USMS/BOP/DF may use Department of Justice (DOJ) approved
                    interpreters/translators as necessary for the purpose of facilitating
                    communication with you.

             ii)    No person shall act as an interpreter/translator without prior written
                    clearance/approval from the USMS/BOP/DF, which shall only be granted
                    after consultation with the FBI and USA/SONY.

             iii)   Interpreters/translators utilized by the USMS/BOP/DF shall not be allowed
                    to engage in, or overhear, unmonitored conversations with you.
                    Interpreters/translators shall not be alone with you, either in a room or on
                    a telephone or other communications medium.

  2)   Attorney-Client Provisions

       a)    Attorney 1 Affirmation of Receipt of the SAM Restrictions Document -
             Your attorney (or counsel) - individually by each if more than one - must sign


  1 The term "attorney" refers to the inmate's attorney of record, who has been verified and
  documented by the USA/SONY, and who has received and acknowledged receipt of the SAM
  restrictions document. As used in this document, "attorney" also refers to more than one attorney


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             an affirmation acknowledging receipt of the SAM restrictions document. By
             signing the affirmation, the attorney acknowledges his or her awareness and
             understanding of the SAM provisions and his or her agreement to abide by
             these provisions, particularly those that relate to contact between you and your
             attorney and the attorney's staff. The signing of the affirmation does not serve
             as an endorsement of the SAM or the conditions of confinement, and does not
             serve to attest to any of the factors set forth in the conclusions supporting the
             SAM. However, in signing the affirmation, your attorney and precleared staff,2
             acknowledge the restriction that they will not forward third-party messages to or
             from you.

             i)     The USA/SONY shall present, or forward, the attorney affirmation of
                    receipt of the SAM restrictions document to your attorney.

             ii)    After initiation of the SAM and prior to your attorney being permitted to
                    have attorney-client privileged contact with you, your attorney shall
                    execute a document affirming receipt of the SAM restrictions document
                    and return the original to the USA/SONY.

             iii)   The USA/SONY shall maintain the original of the SAM acknowledgment
                    document and forward a copy of the signed document to OEO in
                    Washington, O.C., and the USMS/BOP/OF.

        b)   Attorney Use of Interpreters/Translators -

             i)     Necessity Requirement - No interpreter/translator shall be utilized
                    unless absolutely necessary where you do not speak a common language
                    with the attorney. Any interpreter/translator shall be precleared. 3


  where the inmate is represented by two or more attorneys, and the provisions of this document
  shall be fully applicable to each such attorney in his or her individual capacity.
  2
    "Precleared," when used with regard to an attorney's staff, or "precleared staff member," refers
  to a co-counsel, paralegal, or investigator who is actively assisting the inmate's attorney with the
  inmate's post-sentencing proceedings, who has submitted to a background check by the FBI and
  USA/SONY, who has successfully been cleared by the FBI and USA/SONY I and who has
  received a copy of the inmate's SAM and has agreed - as evidenced by his or her signature - to
  adhere to the SAM restrictions and requirements. As used in this document, "staff member" also
  refers to more than one staff member, and the provisions of this document shall be fully
                                                                             11
  applicable to each such staff member in his or her individual capacity. A paralegal" will also be
  governed by any additional OF rules and regulations concerning paralegals.
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     Precleared," when used with regard to an interpreter/translator, refers to an interpreter/
  translator who is actively assisting the inmate's attorney with the inmate's defense, who has
  submitted to a-background check by the FBI and USA/SONY, who has successfully been cleared
  by the FBI and USA/SONY, and who has received a copy of the inmate's SAM and has agreed -


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            ii)    Attorney Immediate Presence Requirement - Any use of an
                   interpreter/translator by the attorney shall be in the physical and
                   immediate presence of the attorney- i.e., in the same room. The
                   attorney shall not patch through telephone calls, or any other
                   communications, to or from you.

            iii)   Translation of Inmate's Correspondence - An attorney of record may
                   only allow a precleared interpreter/translator to translate your
                   correspondence as necessary for attorney-client privileged
                   communication.

       c)   Attorney-Client Privileged Visits - Attorney-client privileged visits may be
            contact or non-contact, at the discretion of the USMS/BOP/DF.

       d)   Attorney May Disseminate Inmate Conversations - Your attorney may
            disseminate the contents of your communications to third parties for the sole
            purpose of preparing your defense - and not for any other reason - on the
            understanding that any such dissemination shall be made solely by your
            attorney, and not by the attorney's staff.

       e)   Unaccompanied Attorney's Precleared Paralegal(s) May Meet With Client
            - Your attorney's precleared paralegal(s) may meet with you without the need
            for your attorney to be present. These meetings may be contact or non-
            contact, at the discretion of the USMS/BOP/DF.

       f)   Simultaneous Multiple Legal Visitors -You may have multiple legal visitors
            provided that at least one of the multiple legal visitors is your attorney or
            precleared paralegal. These meetings may be contact or non-contact, at the
            discretion of the USMS/BOP/DF. An investigator or interpreter/translator may
            not meet alone with you.

       g)   Legally Privileged Telephone Calls - The following rules refer to all legally
            privileged telephone calls or communications:

            i)     Inmate's Attorney's Precleared Staff May Participate in Inmate
                   Telephone Calls - Your attorney's precleared staff are permitted to
                   communicate directly with you by telephone, provided that your attorney is
                   physically present and participating in the legal call as well.




  as evidenced by his or her signature - to adhere to the SAM restrictions and requirements.


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              ii)   Inmate's Initiation of Legally Privileged Telephone Calls - Your
                    initiated telephone communications with your attorney or precleared staff
                    are to be placed by a USMS/BOP/DF staff member and the telephone
                    handed over to you only after the USMS/BOP/DF staff member confirms
                    that the person on the other end of the line is your attorney. This privilege
                    is contingent upon the following additional restrictions:

                    (1)   Your attorney will not allow any non-precleared person to
                          communicate with you, or to take part in and/or listen to or overhear
                          any communications with you.

                    (2)   Your attorney must instruct his or her staff that:

                          (a)   Your attorney and precleared staff are the only persons allowed
                                to engage in communications with you.

                          (b)   Your attorney's staff (including the attorney) are not to patch
                                through, forward, transmit, or send your calls, or any other
                                communications, to third parties.

                    (3)   No telephone call/communication, or portion thereof, except as
                          specifically authorized by this document:

                          (a)   Is to be overheard by a third party. 4

                          (b)   Will be patched through, or in any manner forwarded or
                                transmitted, to a third party.

                          (c)   Shall be divulged in any manner to a third party, except as
                                otherwise provided in Section 2.d. above.

                          (d)   Shall be in any manner recorded or preserved. 5 Your attorney
                                may make written notes of attorney-client privileged
                                communications.

                    (4)   If the USMS/BOP/DF, FBI, or USA/SDNY determines that you have
                          used or are using the opportunity to make a legal call to speak with


   4
     For purposes of the SAM, "third party" does not include officials of the USMS/BOP/DF, FBI,
   DOJ, or other duly authorized federal authorities when acting in connection with their official
   duties. This section does not allow monitoring of attorney-client privileged communications.
   5
     Except by the USMS/BOP/DF, FBI, DOJ, or other duly authorized federal authorities. This
   section does not allow monitoring of attorney-client privileged communications.


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                        another inmate or for any other non-legal reason that would
                        circumvent the intent of the SAM, your ability to contact your attorney
                        by telephone may be suspended or eliminated.

        h)   Documents Provided by Attorney to Inmate - During a visit, your attorney
             may provide you with, or review with you, documents related to your defense,
             including discovery materials, court papers (including indictments, court orders,
             motions etc.), and/or material prepared by your attorney related to such
             proceedings, so long as any of the foregoing documents are translated, if
             translation is necessary, by a precleared interpreter/translator. Any documents
             not related to your defense must be sent to you via general correspondence
             and will be subject to the mail provisions of subparagraphs 2.i. and 3.g.
             Documents previously reviewed and cleared for receipt by you, and already in
             your possession at the outset of the visit, may be discussed or reviewed by you
             and your attorney during the visit.

             i)    None of the materials provided may include inflammatory materials,
                   materials inciting violence, military training materials, or materials that
                   may be used to pass messages from inmate to inmate, unless such
                   materials have been precleared by the USA/SONY and FBI.

             ii)   The USA/SONY may authorize additional documents to be presented to
                   you. If any document not listed or described above needs to be
                   transmitted to you, consent for the transmission of the document may be
                   obtained from the USA/SONY without the need to formally seek approval
                   for an amendment to the SAM.

        i)   Legal Mai16 - Your attorney may not send, communicate, distribute, or divulge
             your mail, or any portion of its contents (legal or otherwise), to third parties,
             except when disclosure of the contents is necessary for the sole purpose of
             providing necessary legal services related to your post-sentencing proceedings
             - and not for any other reason. In signing the SAM acknowledgment
             document, your attorney and precleared staff will acknowledge the restriction
             that only your case-related documents will be presented to you, and that your
             attorney and his or her staff are strictly prohibited from forwarding third-party
             mail to or from you.




   6
    "Legal Mail" is defined as properly marked correspondence (marked "Legal Mail") addressed to
   or from the inmate's attorney. All other mail, including that otherwise defined by the USMS/
   BOP/DF as Special Mail, shall be processed as "non-legal mail."


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   3)   Inmate's Non-legal Contacts

        a)   Non-legally Privileged Telephone Contacts -

             i)     You are only authorized to have non-legally privileged telephone calls with
                    your immediate family members, as well as with Belal Mostafa and
                    Stephen Coles. 7 However, you shall not be permitted to have telephone
                    contact with your two sons, Mohammed Mostafa Kamel, and Sufyan
                    Mostafa.

             ii)    The quantity and duration of your non-legally privileged telephone calls
                    with your immediate family members (except Mohammed Mostafa Kamel
                    and Sufyan Mostafa), Belal Mostafa, and Stephen Coles, shall be set by
                    the USMS/BOP/DF, with a minimum of one call per month.

        b)   Rules for Telephone Calls - For all non-legally privileged telephone calls or
             communications, no telephone call/communication, or portion thereof:

             i)     Is to be overheard by a third party.

             ii)    Is to be patched through, or in any manner forwarded or transmitted, to a
                    third party.

             iii)   Shall be divulged in any manner to a third party.

             iv)    Shall be in any manner recorded or preserved. 8

             All telephone calls shall be in English unless a fluent USMS/BOP/DF- or FBI-
             approved interpreter/translator is available to contemporaneously monitor the
             telephone call. Arranging for an interpreter/translator may require at least
             fourteen (14) days' advance notice.

        c)   Telephone SAM Restriction Notifications - For all non-legally privileged
             telephone calls to your immediate family member(s) (except Mohammed
             Mostafa Kamel and Sufyan Mostafa), Belal Mostafa, and Stephen Coles:

             i)     The USMS/BOP/DF shall inform you of the telephone SAM restrictions
                    prior to each telephone call.

   7
     The inmate's "immediate family members" are defined as the inmate's (USMS/BOP/DF- or FBI-
   verifiable) spouse, children, parents, and siblings. Requests for additional non-legal contacts
   may be submitted and will be considered on a case-by-case basis.
   8
     Except by the USMS/BOP/DF, FBI, DOJ, or other duly authorized federal authorities.


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             ii)    The USMS/BOP/DF shall verbally inform your immediate family
                    member(s) (except Mohammed Mostafa Kamel and Sufyan Mostafa),
                    Belal Mostafa, and Stephen Coles on the opposite end of your telephone
                    communication of the SAM restrictions. The USMS/ BOP/OF is only
                    required to notify your communication recipient in English.

             iii)   The USMS/BOP/DF shall document each such telephone notification.

       d)    Family Call Monitoring - All calls with your immediate family member(s)
             (except Mohammed Mostafa Kamel and Sufyan Mostafa), Bel al Mostafa, and
             Stephen Coles may be:

             i)     Contemporaneously monitored by the FBI.

             ii)    Contemporaneously recorded (as directed by the FBI) in a manner that
                    allows such telephone calls to be analyzed for indications the call is being
                    used to pass messages soliciting or encouraging acts of violence or other
                    crimes, or to otherwise attempt to circumvent the SAM.

             iii)   A copy of each telephone call recording involving an inmate/immediate
                    family member/authorized contact shall be provided to the FBI by the
                    USMS/BOP/DF. These recordings shall be forwarded on a call-by-call
                    basis as soon as practicable.

        e)   Improper Communications - If telephone call monitoring or analysis reveals
             that any call or portion of a call involving you contains any indication of a
             discussion of illegal activity, the soliciting of or encouraging of acts of violence
             or terrorism, or actual or attempted circumvention of the SAM, you shall not be
             permitted any further calls to your authorized immediate family members, Belal
             Mostafa, or Stephen Coles for a period of time to be determined by the
             USMS/BOP/DF. If contemporaneous monitoring reveals such inappropriate
             activity, the telephone call may be immediately terminated.

        f)   Non-legal Visits -

             i)     Limited Visitors - You shall be permitted to visit only with your
                    immediate family members, Belal Mostafa, Stephen Coles, grandson
                    Mosab As_im accompanied by his mother Mariam Mostafa, grandson
                    Ahmed Othman Mostafa accompanied by his father Othman Mostafa,
                    grandson Yahya Mohamed Mostafa accompanied by an authorized
                    contact, grandson Yassin Mostafa accompanied by an authorized contact,
                    and grandson Omar Sufyan Mostafa accompanied by an authorized


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                    contact. However, you will not be permitted to visit with your sons,
                    Mohammed Mostafa Kamel and Sufyan Mostafa. The visitor's identity
                    and family member relationship to you will be confirmed by the
                    USMS/BOP/DF and FBI in advance.

             ii)    English Requirement- All communications during non-legal inmate
                    visits will be in English unless a fluent USMS/BOP/DF- or FBI-approved
                    interpreter/translator is readily available to contemporaneously monitor
                    the communication/visit. Arranging for an interpreter/translator may
                    require at least fourteen (14) days' advance notice.

             iii)   Visit Criteria - All non-legal visits shall be:

                    (1)   Contemporaneously monitored by the USMS/BOP/DF and/or FBI, in
                          a manner that allows such visits to be analyzed for indications the
                          visit is being used to pass messages soliciting or encouraging acts of
                          violence or other crimes, or to otherwise attempt to circumvent the
                          SAM.

                    (2)   Permitted only with a minimum of fourteen (14) calendar days'
                          advance written notice to the USMS/BOP/DF facility where you are
                          housed.

                    (3)   Without any physical contact. All such meetings shall be non-contact
                          to protect against harm to visitors or staff.

                    (4)   Limited to one adult visitor at a time. However, your FBI-verified
                          children (except Mohammed Mostafa Kamel and Sufyan Mostafa)
                          may visit with a pre-approved adult visitor.

        g)   Non-legal Mail - Non-legal mail is any mail not clearly and properly addressed
             to/from your attorney and marked "Legal Mail" (incoming or outgoing). In
             addition to non-legal mail from your attorney, as discussed in subparagraph
             2.h. above, non-legal mail is only authorized with your immediate family
             members (except Mohammed Mostafa Kamel and Sufyan Mostafa), Belal
             Mostafa, Yosab Asim, Ahmed Othman Mostafa, Stephen Coles, U.S. courts,
             federal judges, U.S. Attorneys' Offices, members of U.S. Congress, the BOP,
             or other federal law enforcement entities.

             i)     General correspondence with limitations - Correspondence is only
                    authorized with immediate family members (except Mohammed Mostafa
                    Kamel and Sufyan Mostafa), Belal Mostafa, Yosab Asim, Ahmed Othman
                    Mostafa and Stephen Coles. The volume and frequency of outgoing


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                    general correspondence with immediate family members (except
                    Mohammed Mostafa Kamel and Sufyan Mostafa), Belal Mostafa, Yosab
                    Asim, Ahmed Othman Mostafa, and Stephen Coles may be limited to
                    three pieces of paper (not larger than 8 ½" by 11 "), double-sided, once
                    per calendar week to a single recipient, at the discretion of the USMS/
                    BOP/DF. The identity and family member relationship to you will be
                    confirmed by the USMS/BOP/DF and FBI.

             ii)    General correspondence without limitations - There is no volume or
                    frequency limitation on correspondence to/from U.S. courts, federal
                    judges, U.S. Attorneys' Offices, members of U.S. Congress, the BOP, and
                    other federal law enforcement entities, unless there is evidence of abuse
                    of these privileges, threatening correspondence is detected,
                    circumvention of the SAM is detected, or the quantity to be processed
                    becomes unreasonable to the extent that efficient processing to protect
                    the security, good order, or discipline of the institution, the public, or
                    national security may be jeopardized.

             iii)   All non-legal mail shall be -

                    (1)   Copied - Shall be copied (including the surface of the envelope) by
                          the warden, or his or her designee, of the facility in which you are
                          housed.

                    (2)   Forwarded - Shall be forwarded, in copy form, to the location
                          designated by the FBI.

                    (3)   Analyzed - After government analysis and approval, if appropriate,
                          your incoming/outgoing non-legal mail shall be forwarded to the
                          USMS/BOP/DF for delivery to you (incoming), or directly to the
                          addressee (outgoing).

             iv)    The federal government shall forward your non-legal mail to the
                    USMS/BOP/DF for delivery to you or directly to the addressee after a
                    review and analysis period of:

                    (1)   A reasonable time not to exceed fourteen (14) business days for mail
                          that is written entirely in the English language.

                    (2)   A reasonable time not to exceed sixty (60) business days for any
                          mail that includes writing in any language other than English, to allow
                          for translation.



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                  (3)   A reasonable time not to exceed sixty (60) business days for any
                        mail where the federal government has reasonable suspicion to
                        believe that a code was used, to allow for decoding.


             v)   Mail Seizure - If outgoing/incoming mail is determined by the USMS/
                  BOP/OF or FBI to contain overt or covert discussions of or requests for
                  illegal activities, the soliciting or encouraging of acts of violence or
                  terrorism, or actual or attempted circumvention of the SAM, the mail shall
                  not be delivered/forwarded to the intended recipient but referred to the
                  FBI for appropriate action. You shall be notified in writing of the seizure of
                  any mail.

  4)    Communication with News Media - You shall not be permitted to speak, meet,
        correspond, or otherwise communicate with any member or representative of the
        news media in person; by telephone; by furnishing a recorded message; through the
        mail, your attorney, or a third party; or otherwise.

   5)   Religious Visitation

        a)   If a USMS/BOP/DF- and/or FBI-approved religious representative is to be
             present for prayer with you, the prayer shall be conducted as part of a contact
             or non-contact visit, at the discretion of the USMS/BOP/DF.

   6)   No Communal Cells and No Communication Between Cells

        a)   You shall not be allowed to share a cell with another inmate.

        b)   You shall be limited within the USMS/BOP/DF's reasonable efforts and existing
             confinement conditions, from communicating with any other inmate by making
             statements audible to other inmates or by sending notes to other inmates,
             except as permitted in Section 1.c., above.

   7)    Cellblock Procedures

        a)   You shall be kept separated from other inmates as much as possible while in
             the cellblock area.

        b)   You shall be limited, within the USMS/BOP/DF's reasonable efforts and
             existing confinement conditions, from communicating with any other inmate
             while in the cellblock area.




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   8)   Access to Mass Communications - To prevent you from receiving and acting
        upon critically timed information or information coded in a potentially undetectable
        manner, your access to materials of mass communication is restricted as follows:

        a)   Publications/Newspapers -

             i)     You may have access to publications determined not to facilitate criminal
                    activity or be detrimental to national security; the security, good order, or
                    discipline of the institution; or the protection of the public. This
                    determination is to be made by the USMS/BOP/DF, in consultation with
                    the USA/SONY. You may correspond with the publishing company
                    regarding technical aspects of the publication, i.e., availability of particular
                    volumes, billing questions, etc. The review of this correspondence will be
                    in accordance with section 8(a)(iii), below.

             ii)    Sections of any publication/newspaper that offer a forum for information to
                    be passed by unknown and/or unverified individuals, including but not
                    limited to classified advertisements and letters to the editor, should be
                    removed from the publications/newspapers prior to distribution to you.

             iii)   If restricted by the USMS/BOP/DF rules, access to a publication will be
                    denied. If acceptable, upon delivery, the USMS/BOP/DF will review the
                    publication and make the initial determination. If the FBl's expertise is
                    required, the publication will be forwarded to the FBI for review. The
                    USMS/BOP/DF will also forward the publication to the FBI if translations
                    are needed to make that determination. (In these cases, the FBI shall
                    respond to the USMS/BOP/DF within fourteen (14) business days.) You
                    shall then have access to the remaining portions of the publications/
                    newspapers deemed acceptable, in accordance with USMS/BOP/DF
                    policy.

             iv)    In order to avoid passing messages/information from inmate to inmate,
                    you shall be allowed to share institutionally purchased publications/
                    newspapers with other SAM inmates only after each publication/
                    newspaper is physically screened by staff to ensure that messages
                    cannot be passed between the SAM inmates. Publications/newspapers
                    individually purchased by you may not be shared with any other inmate.

        b)   Television and Radio- You are authorized to have television and radio
             viewing and listening privileges, in accordance with standard and applicable
             USMS/BOP/DF policies and procedures.




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        c)   Termination or Limitation - If the USMS/BOP/DF determines that mass
             communications are being used as a vehicle to send messages to you relating
             to the furtherance of terrorist or criminal activities, your access may be limited
             or terminated for a period of time to be determined by the USMS/ BOP/OF.

   9)   Access to Books

        a)   You may have access to all books that do not facilitate criminal activity or
             present a substantial threat to national security or the security, discipline, or
             good order of the institution. This initial determination is to be made by the
             USMS/BOP/DF and, if the USMS/BOP/OF determines that the FBl's expertise
             is required, the book(s) will be forwarded to the FBI for review. In conducting
             its analysis, the FBI will determine whether the book advocates or promotes
             acts of terrorism or violence and/or whether access to the book by you would
             pose a substantial threat to national security.

        b)   In order to avoid passing messages/information from inmate to inmate, you
             shall be allowed to share institutionally purchased books with other SAM
             inmates only after each book is physically screened by staff to ensure that
             messages cannot be passed between the SAM inmates. Books individually
             purchased by you may not be shared with any other inmate.

   10) Transfer of Custody

         In the event that you are transferred to or from the custody of the USMS, BOP, or
        any other OF, the SAM provisions authorized for you shall continue in effect, without
        need for any additional DOJ authorization.

   11) Inmate's Consular Contacts

        You, a citizen of a foreign country, shall be allowed Consular communications and
        visits, consistent with USMS/BOP/DF policy. The Consular contacts shall comply
        with the U.S. Department of State (DOS) Consular notification and access
        requirements. 9 Prior to permitting any Consular contact, the FBI will verify the
        Consular representative's credentials with the DOS.




   9
    See Consular Notification and Access, Instructions for Federal, State, and Local Law
   Enforcement and Other Officials Regarding Foreign Nationals in the United States and the Rights
   of Consular Officials to Assist Them, DOS. The DOS contact is the Consular Notification and
   Access (CAN), DOS, telephone (202) 485-7703 or http://www.travel.state.gov/CNA.


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   CONCLUSION

         The SAM set forth herein, especially as they relate to attorney-client privileged
   communications and family contact, are reasonably necessary to prevent you from
   committing, soliciting, or conspiring to engage in additional criminal activity. Moreover,
   these measures are the least restrictive that can be tolerated in light of your ability to aid,
   knowingly or inadvertently, in plans that create a substantial risk that your
   communications or contacts with persons could result in death or serious bodily injury to
   persons.

          With respect to telephone privileges, the SAM are reasonably necessary because
   of the high probability of calls to co-conspirators to arrange terrorist or criminal activities.

           With respect to mail privileges, the SAM are necessary to prevent you from
   receiving or passing along critically timed messages. Accordingly, your interest in the
   timely receipt and/or submission of mail, with the possible danger the contents of the mail
   may pose to others has been weighed. It has been determined that delaying mail
   delivery to allow authorized personnel to examine a copy of the mail is the least
   restrictive means available to ensure that the mail is not being used to deliver requests
   for, or to assist in, violent threats, and/or criminal acts against government witnesses or
   others.

          To the extent that the use of an interpreter/translator is necessary, the government
   has the right to ensure that the interpreter/translator given access to you is worthy of
   trust.

           The SAM's prohibition of contact with the media is reasonably necessary.
   Communication with the media could pose a substantial risk to public safety if you
   advocate terrorist, criminal, and/or violent offenses, or if you make statements designed
   to incite such acts. Based upon your past behavior, it would be unwise to wait until after·
   you solicit or attempt to arrange a violent or terrorist act to justify such media restrictions.

           The SAM's limitations on access to mass communications are reasonably
   necessary to prevent you from receiving and acting upon critically timed messages.
   Such messages may be placed in advertisements or communicated through other
   means, such as the television and/or radio. It is believed that limiting and/or delaying
   media access may interrupt communication patterns you may develop with the outside
   world, and ensure that the media is not used to communicate information that furthers
   terrorist, violent, and/or criminal activities.




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         These conditions are imposed by the USMS/BOP/DF at the request of the
  Attorney General, through his designated agent, the Deputy Assistant Attorney General.



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                                         Attorney Affirmation
          MICHAEL KEITH BACHRACH, pursuant to 28 C.F.R. '501.3(c), hereby affirms under
   the penalties of pe1jury the following:

            By signing below, I acknowledge receipt of the SAM restrictions document for Mostafa
   Kamel Mostafa, dated December 29, 2021. By signing the affirmation, I acknowledge my
   awareness and understanding of the SAM provisions and my agreement to abide by these
   provisions, particularly those that relate to contact between the inmate and his attorney and the
   attorney's staff. The signing of the affirmation does not serve as an endorsement of the SAM or
   the conditions of confinement, and does not serve to attest to any of the factors set forth in the
   conclusions supporting the SAM. However, in signing the affirmation, I acknowledge the
   restriction that neither I nor my staff will forward third-partymessages to or from the inmate.




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